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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:18-cv-24190

  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,

                 Plaintiffs,
  v.

  JOE CAROLLO,

              Defendant.
  _____________________________/

            PLAINTIFFS’ MOTION FOR ISSUANCE OF WRIT OF EXECUTION

          COMES NOW, the Plaintiffs William O. Fuller and Martin Pinilla, II, by and through

  undersigned counsel move for the Clerk of this Court to issue a Writ of Execution in this matter.

  Final judgment was entered against Defendant Joe Carollo on June 1, 2023 by this Court. DE

  479.

          WHEREFORE, Plaintiffs respectfully move for the issuance of a Writ of Execution in

  this matter.

                                                Respectfully submitted,


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                                                Miami, Florida 33127
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                                                Email: jeff@axslawgroup.com

                                                By: /s/ Jeffrey Gutchess
                                                Jeffrey W. Gutchess
                                                Florida Bar No. 702601
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                                  CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

  CM/ECF on counsel of record in this action on this 10th day of July, 2023.


                                                             /s/ Jeffrey W. Gutchess
                                                             Jeffrey W. Gutchess
